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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA

                          -against-
                                                                        NOTICE OF APPEARANCE
JOSE ADOLFO MACIAS VILLAMAR,                                            25 Cr. 114 (FB)

                                    Defendant.
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SIR OR MADAM:

        PLEASE TAKE NOTICE that Alexei Schacht, an attorney admitted to practice law before

this Court, hereby appears as counsel of record for JOSE ADOLFO MACIAS VILLAMAR.


                                                              Respectfully submitted,


                                                              Alexei Schacht
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